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IN THE DISTRICT COURT OF CLEVELAND COUN'I`Y F|LED
STATE OF OKLAHOMA
NAY 20 2014
JUSTINE DAILY, ) v
) In The Ottlce of the
Plaintiffs, ) COUH` Ci@ri( RH OND/'\ HALL
)
versus ) Case No.
)
USAA CASUALTY INSURANCE COMPANY, )
)
Defendant. )
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COME NOW the Plaintiff, Justine Daily (hereinafter “Plaintift”), for her claims against
Deie'ndants, USAA Casualty Insurance Company (hereinafter “USAA”), states as follows:
l. Plaintift`s is a resident of Cleveland County, Ol<lahoma.
2. Defendant USAA is a corporation incorporated under the laws cf the State of Texas,
3. Plaintiff entered into a contract of insurance vvith De:l`endant USAA to provide
coverage for her residence, household contents, and personal property. Plaintifi’s insured property
is located in Cleveland County, Ol<lahorna.
4. Thereafter, Defendant USAA issued the I~Iorneowners Policy of insurance (Policy
' No. 020530046/9OA) to the Plaintiff.
4 5. USAA represented to the Plaintiff, directly and through its agents that it would
g conduct itself in accordance with Ol<lahorna law and Would fully and fairly investigate and pay
1 claims Plaintiff relied on said representations
6. On or about the 20th day ofMay, 2013,'Plaintift”s property, which Was insured by the
subject homeowners policy of insurance, was heavily damaged as the direct result of a catastrophic

tornado.

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7. Consequently, Plaintiff properly and timely submitted a claim to Defendant USAA
for the property damage resulting from the May 20, 2013, tornado.

8. Dei"endant USAA confirmed Plaintift” s property had in fact sustained direct physical
damage as a result of catastrophic tornado which occurred on or about the 20"‘ day of May, 2013,
and that said loss was covered under the terms and conditions ofPlaintiff” s homeowners policy with
USAA.

9. Subsequently, Defendant USAA paid portions of Plaintiff’s claim based on its
purported investigation and estimate

FIRST CAUSE OF ACTION
BREACH OF CONTRACT

lO. Plaintiff entered into a contract of insurance with Defendant USAA to provide
coverage for her dwelling and personal property, The Homeowners Policy with Defendant USAA
was in full force and effect at all material times hereto.

l l. Plaintiff provided proper and timely notice to Defendant USAA of her claims arising
from the catastrophic tornado of l\/lay 20, 2013,

12. Plaintiff has in all material ways, complied with the terms and conditions of the
policy.

13. Defendant USAA, however, has breached its contractual obligations under the terms
and conditions of the insurance contract with Plaintiff by failing to pay Plaintiff all benefits to which
she is'entitled under the terms and conditions of the policy.

14. As a result of Defcndant USAA’s breach of contract and other wrongful conduct,

Plaintiff has sustained financial losses, mental and emotional distress and have been damaged in an

 

 

 

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amount in excess ofSeventy~Five Thousand Dollars ($75,000.00), exclusive ofattorneys’ fees, costs

and interest

SECOND CAUSE OF ACTION
BAD FAITH

Plaintiff adopts and re-plead paragraphs l through 14 above, and for her claim against
Defendant USAA further allege as follows:

15. Defendant USAA owed a duty to Plaintiff to deal fairly and in good faith.

16. Defendant USAA breached its duty to deal fairly and in good faith by engaging in
the following acts and omissions:

a. failing to pay the full and fair amount for the property damage sustained by Plaintiff
from the May 20, 2013 , tornado in accordance with the terms and conditions of her insurance policy;

b. failing to pay all additional coverages due and owing to Plaintiff under the terms and
conditions of her homeowners policy of insurance, thereby unfairly and Without valid basis,
reducing the fair amount of Plaintifi”s claim;

c. purposefully, wrongfully and repeatedly withholding pertinent benefits, coverages
and other provisions due Plaintift` under the terms and conditions of her insurance policy in violation
of the Unfair Claims Settlernent Pi'actices Act, 36 O.S. §§1250,1-1250.16;

d. purposefully, wrongfully and repeatedly failing to communicate all coverages and
benefits applicable to Plaintifi”s claim;

e. forcing Plaintiff to retain counsel to recover insurance benefits to which she was
entitled under the terms and conditions of the insurance contract;

f. failing to conduct a fair and objective investigation of the damage to Plaintiff’ s home;

and,

 

 

 

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g. intentionally engaging in outcome~oriented investigation

l7. Defendant USAA’s obligations arise from both the express written terms of the '
policy and the Ol<lahoma lnsurance Code. USAA’s failure to implement and/or follow Oklahoma’s
statutory lnsurance Code constitutes bad faith.

18. The conduct of Dcfendant USAA, as described above, constitutes bad faith and is a
material breach of the terms and conditions of the insurance contract between the parties

l9. As a direct result of Defendant USAA’s bad faith, Plaintiff’ s claim was unnecessarily
delayed, inadequately investigated, and wrongly underpaid Said actions resulted in additional
profits and financial Windfall for Defendant USAA,

20. As a result of Defendant USAA’s conduct, Plaintiff has sustained financial losses,
mental and emotional distress and has been damaged in an amount in excess of Seventy-Five
Thousand Dollars ($75,000.00), exclusive of attorneys’ fees, costs and interest

21. Defendant USAA’s conduct was intentional, willful, malicious and in reckless
disregard of the rights of Plaintiff, and is sufficiently egregious in nature so as to warrant the
imposition of punitive damages

22. Plaintiff further alleges Defendant USAA enjoyed increased financial benefits and
ill-gotten gains as a direct result ofthe wrongful conduct described above herein, which resulted in
the injury to Plaintiffs.

THIRD CAUSE OF ACTION
NEGLIGENCE

Plaintiff adopts and re-pleads paragraphs l through 22 above, and for her additional claims
against Defendant USAA do hereby and further allege as follows:

23. At the time the policy was sold, Defendant had a duty and were obligated to utilize

 

 

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reasonable valuation methodology to determine the costs which Defendant considered necessary to
cover the replacement cost of Plaintiff s dwelling. Defendant was then prohibited from writing
more insurance than they considered necessary to cover the replacement cost ofPlaintifPs dwelling
as determined at the time the subject policy was written.

24. Thereafter, Defendant owed a duty to Plaintiff to exercise good faith, reasonable care,
skill and expertise in the underwriting analysis to ensure the insurance policy provided appropriate
and adequate coverage once the insured~insurer relationship was established

25. Defendant breached their duties to Plaintiff to exercise good faith, reasonable care,
skill and expertise in failing to establish an accurate and consistent methodology for calculating the
replacement cost of Plaintiff’s dwelling

26. Defendant’s breach resulted in both inconsistent and inaccurate replacement cost
valuations resulting in Plaintiff having policy limits and corresponding premiums which did not
accurately reflect the risks insured

27. Defendants further breached their duties by automatically applying USAA’s yearly
inflationary adjustments which were used to automatically increase Plaintiff’s policy limits and
premiums, without any regard to whether or not the provision was necessary considering the
dwelling’s current valuation

28. The conduct and inconsistencies referenced herein violates Defendant’s duties of
good faith dealing implicit in the contract of insurance with Plaintiff.

29. Defendant’s obligations arise from both the express written terms of the policy and
the f)l<lahoma Insurance Code, Defendant’s failure to implement and/or follow Oklahorna’s
statutory lnsurance Code also constitutes bad faith, Defendant’s conduct referenced herein
constitutes a breach of this duty of good faith which is inherent in all contracts within the State Of

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Oklahoma.

30. Defendant’s failure to procure the proper insurance product morally and legally
requires it be held to a duty of reasonable care, and that the burden of the resulting liability for the
breach of this duty be imposed upon it. This duty exists due to the forseeability of the harm to
Plaintiff which could occur as a result of USAA’s negligence in failing to procure insurance which
appropriately represented the risk it assumed; the procurement of improper insurance is the direct
cause of the harm and injury suffered by Plaintiff; and the moral blame for the failure to procure and
underwrite the correct policy lies with the Defendant Further, the burden on the Defendant of
imposing a duty to exercise care in procuring and underwriting the correct policy for the needs of
the insured (with resulting liability for breach) is minimal, given the purported expertise of the
Defendant, and its’ representations that it is an expert in the field of providing insurance coverage
to the general public, such as Plaintiff.

31. Plaintiff relied on the Defendant to conduct an appropriate underwriting analysis to
ensure and maintain an insurance policy which provided appropriate coverage

32. The Defendant breached its’ duty owed to Plaintiff by failing to conduct an
appropriate underwriting analysis which resulted in issuing a policy of insurance to Plaintiff that did
not provide appropriate coverage to Plaintiff for her home and personal property.

33. . As a result of the Defendant’s conduct, Plaintiff has sustained financial losses, mental
and emotional distress and has been damaged in an amount in excess of Seventy~Five Thousand
Dollars ($75,000.00), exclusive of attorneys’ fees, costs and interest

34. The conduct of Defendant was intentional, willful, malicious and in reckless
disregard of the rights of the Plaintiff, and/or was grossly negligent, and is sufficiently egregious in
nature so as to warrant the imposition of punitive damages

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RAYER FOR RELIEF

WHEREFORE, premises considered, Plaintiff prays for judgment in her favor and against
Defendants, USAA Casualty lnsurance Company for:

a) Payment for all contractual benefits for all coverages afforded to Plaintiff under the
subject homeowners policy of insurance for damage to her property caused by the May 20, 2013,
tornado, with interest on all amounts due;

: b) Compensatory damages for intentional infliction of emotional distress and mental

pain and suffering;

c) Disgorgement of the increased financial benefits derived by any and/or all of the
Defendants as a direct result of the Defendants’ wrongful conduct;

d) Actual and punitive damages each in an amount in excess of $75,000,00; and,

e) Prejudgment interests, costs and attorneys’ fees.

Respectfully submitted,

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ATTORNEYS’ LIEN CLAIMED
JURY TRIAL DEMANDED

 

 

 

